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UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF FLORIDA
DIVISION

 

‘CIVIL RIGHTS COMPLAINT FORM
TO BE USED BY PRISONERS IN ACTIONS UNDER 42 U.S.C. 4 1983 |

Lek Curbs. ler t)S
Inmate # JES 7b }

(Enter full name of Plaintiff)

 

CASE NO: _, 3-6 TEV tafe fems 4

v8. EL SChm ba T/ JS: /

        

(To be assigned by Clerk)

 

 

 

 

 

> (Entot ne name > and title of each Defendant.
\f additional space is required, use the

blank area below and directly to the right.)

 

ANSWER ALL QUESTIONS ON THE FOLLOWING PAGES:

 

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eect

I. PLAINTIFF:

State your full name, inmate number (if applicable), and full mailing address in the lines below.

Name of Plaintiff: Lrekd Curtis. ber y&
Inmate Number —f5 SSF xb LQ
‘Prison or Jail: Lpm Ni. Laney hy c
Mailing address: SARC ib Chay. [SIPC SY- 6/
"Feb. Pox [FBO
PDcha, LL BRS22. - TE 7

ll. DEFENDANT(S):

State the name of the Defendant in the first line, official position in the second line, place of
employment in the third line, and mailing address. Do the same for every Defendant:

(1) | Defendant's name: LO (PRES sAi/
Official position: SS. A Cry - /

 

  

 

 

 

     

 

 

Employed.at: C SCpRMALE. La dnp/ |
Mailing address: E.2, Boy LESTLO
EES (PiBisicttlas, Bee
(2) 6 CH ra pote

Official position: - Cop ferl)

Employed at: | Lbtamds. ZG. £ ay Lh Co

“Mailing address: £2. Pb ITE 4 2

PAE esl. LL ee PEF

(3) Defendant's name: SA: POFIE

Official position: oS a ame 7

Employed at: Bk Zap Se co

Mailing address: 2. Caf [7 EO Oo ,
[LEDS AL 4 Lf SRSBSD ~ 7157
: 7 ST

ATTACH ADDITIONAL PAGES HERE TO NAME ADDITIONAL DEFENDANTS

 

 

 

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HI. EXHAUSTION OF ADMINISTRATIVE REMEDIES

- Exhaustion of administrative remedies is required prior to pursuing a civil rights action
regarding conditions or events in any prison, jail, or detention center. 42 U.S.C. § 1997e(a).
Plaintiff is warned that any claims for which the administrative grievance process was not
completed. prior to filing this lawsuit may be subject to dismissal.

W. PREVIOUS LAWSUITS

NOTE: FAILURE TO DISCLOSE ALL PRIOR CIVIL CASES MAY RESULT IN THE DISMISSAL OF THIS
CASE. IF YOU ARE UNSURE’ OF ANY PRIOR CASES YOU HAVE FILED, THAT FACT MUST BE
DISCLOSED AS WELL.

A. Have you initiated other actions in state cedrt dealing with the same or similar
facts/issues involved in this action?. ,
Yes( ) No(

   

1. Parties to previous action:
(a) Plaintiff(s):

(b) Defendant(s):
Name of judge: Case #:

 

 

County and judicial circuit:

 

Approximate filing date:

 

If not still pending, date of dismissal:

 

Reason for dismissal:

N Oak WN

 

Facts and claims of case:

 

(Attach additional pages as necessary to list state court cases.)

B. Have you initiated other actions in federal cou
facts/issues involved in this action?

  
 

ing with the same or similar

Yes( ) No(
1. Parties to previous action:
a. Plaintiff(s):
b. Defendant(s): |

District and judicial division:

 

 

. Name of judge: Case #:

Approximate filing date:

 

If not still pending, date of dismissal:

Oar wh

Reason for dismissal:

 

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7. Facts and claims of case:

 

 

(Attach additional pages as necessary to list other federal court cases.)

C. Have you initiated other actions (besides those listed above in Questions (A) and
(B)) in either state or federal court that relate to the fact or manner of your
incarceration (including habeas corpus petitions) or -the conditions of your
confinement (including civil rights complaints about. any aspect of prison life,
whether it be general circumstances or a particularepisode, and whether it involved
excessive force or some other wrong)?

  

Yes( ) No(&
lf YES, describe each action in the space provided below. If more than one action, describe
all additional cases on a separate piece of paper, using the same format as below.

aA. Parties to previous action:
a. Plaintiff(s):
b. Defendant(s):

District and judicial division:

 

 

 

Name of judge: Case #:

Approximate filing date:

 

If not still pending, date of dismissal:.

Reason for dismissal:

 

NOaA wh

 

Facts and claims of case:

 

(Attach additional pages as necessary to list cases.)

D. Have you ever had any actions in federal court dismissed as frivolous, malicious,

 

 

 

 

 

failing to state a claim, or prior to service? If so, identify each and every case so

dismissed:

Yes( ) No

1. Parties to previous action: a
a. — Plaintiffs): : ‘
b. Defendant(s): | .

2. District and judicial division:

3.) Name of judge: _. Case Docket #

4. Approximate filing date: Dismissal date:

5. Reason for dismissal:

 

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6. Facts and claims of case:

 

 

(Attach additional pages as necessary to list cases.)

-v. STATEMENT OF FACTS:

‘State briefly the FACTS of this case. Describe how each Defendant was involved and what each person did
or did not do which gives rise to your claim. In describing what happened, state the names of persons
involved, dates, and places. Do not make any legal arguments or cite to any cases or statutes. You must set
forth separate factual allegations in separately numbered paragraphs.. You may make copies of this page if
necessary to supply all the facts. Barring extraordinary circumstances, no more than five (5) additional pages
should be attached. (If there are facts which are not related to this same basic incident or issue, they
must be addressed ina separate civil rights complaint.)

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Pes pect, Sb we

Gee! CMTS les.
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Sa A.
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Vi. STATEMENT OF CLAIMS:

State what rights under the Constitution, laws, or treaties of the United States you claim have been violated.
Be specific. Number each separate claim and relate it to the facts alleged in Section V. If claims are not
related to the same basic incident or issue, they must be addressed in a separate civil rights

complaint.
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Vil. RELIEF REQUESTED:
State briefly what relief you seek from the Court. Do not make legal arguments or cite to cases/ statutes.
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_Saset WAS “AGAWST DEFENDANTS > ALL ano z ETHER

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es Q : : a

I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING STATEMENTS OF FACT, ~
INCLUDING ALL CONTINUATION PAGES, ARE TRUE AND CORRECT.

¥. fa- 2 / fin, wrens Kw

(Date) (/ Signature of Plaintiff)

_IF MAILED BY PRISONER:

1 declare (or certify, verify, or affirm) under penalty of perjury that this complaint was (check one):
O delivered to prison officials for mailing or w deposited i in the prison's internal mail system on:
the. / 7_. day of fits ¢ ,200 7.

Arron On bis Kaa S
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foraure of Plaintiff) 7

Revised 03/07

 

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